 Case 2:20-bk-17433-VZ      Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38   Desc
                             Main Document     Page 1 of 9



 1   Giovanni Orantes, Esq. 190060
     THE ORANTES LAW FIRM, P.C.
 2   3435 Wilshire Blvd., Suite 2920
     Los Angeles, CA 90010
 3   Telephone: (213)389-4362
     Facsimile: (877) 789-5776
 4   go@gobklaw.com

 5   Insolvency Counsel for Debtor
     And Debtor-in-Possession
 6
 7
 8                            UNITED STATES BANKRUPTCY COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                     LOS ANGELES DIVISION

11
     In re:                                    Case No. 2:20-bk-17433-VZ
12
                                               Chapter 11
13   Jong Uk Byun,
                                               REPLY IN SUPPORT OF DEBTOR’S MOTION
14                                             FOR ORDER:
                       Debtor and              (1) AUTHORIZING AND APPROVING SALE
15                     Debtor-in-Possession.   PROCEDURES FOR SALE OF ASSETS;
                                               (2) AUTHORIZING AND APPROVING THE
16                                             BREAK-UP FEE;
                                               (3) APPROVING FORM AND MANNER OF
17                                             NOTICE OF AUCTION AND SALE HEARING;
                                               (4) SCHEDULING HEARING TO CONSIDER
18                                             APPROVAL OF REAL ESTATE PURCHASE
                                               AND SALE AGREEMENT; AND
19                                             (5) GRANTING OTHER RELIEF AS THE
                                               COURT MAY DEEM APPROPRIATE;
20                                             AND SUPPORTING MEMORANDUM &
                                               DECLARATIONS (DOCKET NO. 379)
21
22                                             HEARING
                                               DATE: November 30, 2021
23
                                               TIME: 11:00 A.M.
24                                             CTRM: 1368
                                               PLACE: 255 E. Temple Street
25                                                    Los Angeles, CA

26
27
28

29                                               1
30
 Case 2:20-bk-17433-VZ        Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38               Desc
                               Main Document     Page 2 of 9



 1          TO THE HONORABLE VINCENT ZURZOLO, UNITED STATES BANKRUPTCY
 2   JUDGE; THE OFFICE OF THE UNITED STATES TRUSTEE; AND ALL OTHER PARTIES
 3   IN INTEREST: Jong Uk Byun, the Debtor and Debtor-in-Possession in the above entitled Chapter 11
 4   Case (the “Debtor”), submits his reply in support of the Motion For Order: (1) Authorizing And

 5   Approving Sale Procedures For Sale Of Assets; (2) Authorizing And Approving The Break-Up Fee;
 6   (3) Approving Form And Manner Of Notice Of Auction And Sale Hearing; (4) Scheduling Hearing To
 7   Consider Approval Of Real Estate Purchase And Sale Agreement; And (5) Granting Other Relief As The
 8   Court May Deem Appropriate; And Supporting Memorandum & Declarations (Docket No. 379) (“Sale
 9   Procedures Motion”), and states as follows:
10          On November 18, 2021, the Debtor filed and served via ECF, email or overnight mail the

11   aforementioned Sale Procedures Motion as well as that Motion For Order (1) Approving The Sale Of
12   The Real Property Commonly Known As 8201 Santa Fe Avenue, Huntington Park, Ca 90255, Subject
13   To Overbidding Procedures Pursuant To 11 U.S.C. § 363; (2) Authorizing That Such Sale Be Free
14   And Clear Of Liens, Claims, Interests, And Encumbrances Of Any Nature Whatsoever Pursuant To 11
15   U.S.C. § 363; (3) Extinguishing Existing Lease; (4) Rejecting All Other Executory Contracts And
16   Unexpired Leases; (5) Authorizing Payment Directly Out Of Escrow Of The Claim Of Hyundai Steel

17   Company, Escrow Costs, Brokers Fee And Liens Senior To The Liens Of Hyundai Steel Company;
18   (6) Finding That Buyer Is A Good Faith Buyer Entitled To The Protections Of Section 363(M) Of The
19   Bankruptcy Code; (7) Waiving The Fourteen-Day Stay Provision Of Bankruptcy Rule 6004; (8)
20   Approving Compromise Of Controversy With Hyundai Steel Company And Authorizing General
21   Mutual Releases; And, (9) Granting Other Relief It Deems Just And Appropriate; Memorandum Of
22   Points And Authorities; And, Declarations In Support Thereof (Docket No. 374 replaced by Docket

23   No. 379) (the “Sale Motion”) and a Notice Of Sale Of Estate Property (LBR 6004-2) 8201 Santa Fe
24   Avenue, Huntington Park, CA 90255 (the “Sale Notice”).
25          The Debtor was ordered by the Court to include and did include in the notice portion of the
26   Sale Procedures Motion, the objection deadline of November 24, 2021, by 12:00 p.m. (Noon) Pacific
27   Standard Time for interested parties to file and serve objections on Judge Zurzolo’s chambers via e-
28   mail at Chambers_VZurzolo@cacb.uscourts.gov, which the Debtor. The reply deadline to those

29                                                      2
30
 Case 2:20-bk-17433-VZ         Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38                Desc
                                Main Document     Page 3 of 9



 1   objections is set to November 29, 2021 by 12:00 p.m. (Noon) Pacific Standard Time and should file
 2   and serve objections on Judge Zurzolo’s chambers via e-mail at
 3   Chambers_VZurzolo@cacb.uscourts.gov.
 4          On November 24, 2021, Thor Acquisition West LLC (the “Buyer”) filed the Declaration of

 5   Greg German in support of the Sales Procedures Motion and Property Sale Motion as Docket No. 385.
 6          On November 24, 2021, Creditors Packo Investments, Inc., Allen Park, Mohamed Sanfaz, and
 7   The BAE Family Trust filed the Opposition only to the Sale Motion as Docket No. 386 (“Packo Sale
 8   Opposition”).
 9          On November 26, 2021, Toni Ko, filed as Docket No. 388, which it later re-filed as Docket
10   No. 392, that Statement and Reservation of Rights Re Debtor’s Notice of Motion and Motion for

11   Order (1) Approving the Sale of the Real Property Commonly Known as 8201 Santa Fe Avenue,
12   Huntington Park, CA 90255, Subject to Overbidding Procedures Pursuant to 11 U.S.C. § 363; etc.
13   (“Ko Statement”). As its title makes clear, the Ko Statement concerns only the Sale Motion.
14          In sum, no opposition or objection to the Sale Procedures Motion has been filed at all, let
15   alone a timely opposition or objection. The Debtor believes this is quite intentional as the sale the
16   Debtor proposes to make benefits the entire estate.

17          The Debtor plans to file a timely reply by December 2, 2021 to the Packo Sale Opposition,
18   which is not properly before the Court on November 30, 2021. Should the Court consider any
19   argument in such opposition at all on November 30, 2021, a few issues are noteworthy, however:
20          1.       Again, in the first instance, the arguments in the Packo Sale Opposition go to the Sale
21                   Motion, not the Procedures Motion and, thus, are not ripe on Tuesday. As to the sale,
22                   Packo relies primarily on In re Hassen Imps. P’ship (In re Hassen Imports

23                   Pasrtnership), 502 B.R. 851 (D. C.D. Cal. 2013) (“Hassen”), which in turn relies in
24                   part on In re PW, LLC, 391 B.R. 25, 41 (B.A.P. 9th Cir. 2008) (“Clear
25                   Channel”). Both cases are easily distinguished from our facts.
26                   a.     Hassen is distinguishable because that case involved an enforceable equitable
27                          servitude not a lien. Hassen at 856.
28

29                                                         3
30
 Case 2:20-bk-17433-VZ    Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38                Desc
                           Main Document     Page 4 of 9



 1                   i.      The Hassen Court concluded that the servitude is not an interest that is
 2                           reducible to “money satisfaction” within the meaning of section
 3                           363(f)(5) because, under California law, “a foreclosure on a senior lien
 4                           interest extinguishes junior covenants and equitable servitudes.” Id. at

 5                           859-860. Because such an interest would simply be extinguished in a
 6                           foreclosure and would not be entitled to “money satisfaction,” no matter
 7                           the sale price achieved at foreclosure, the Court concluded that the
 8                           foreclosure would “not constitute a ‘legal or equitable proceeding’
 9                           pursuant to § 363(f)(5).” Id. at 861. The Court cited authority,
10                           including Clear Channel and Gouveia v. Tazbir, 37 F.3d 295 (7th

11                           Cir.1994), for the proposition that section 363(f)(5) does not apply to
12                           covenants, such as the equitable servitude at issue, which are not “cash
13                           convertible.” Id. at 861. In short, the Hassen decision hinged entirely
14                           on the non-cash-convertible nature of the equitable servitude at issue in
15                           that case. Here, no equitable servitude is at issue; Hassen is therefore
16                           not on point. Because an equitable servitude is neither a lien, nor

17                           supports a claim, it never receives a cash settlement. Indeed, courts
18                           have found that equitable servitudes and easements are not claims
19                           subject to the discharge. See Matter of Udell, 18 F.3d 403, 408-10 (7th
20                           Cir. 1994) (holding that the right to equitable relief for breach of a
21                           covenant not to compete was not a claim dischargeable in bankruptcy
22                           under § 101(5)(B) because the right to equitable relief constitutes a

23                           claim only if it is an alternative to a right to payment or if compliance
24                           with the equitable order will itself require the payment of money, and
25                           neither circumstance was present); Kennedy v. Medicap Pharmacies,
26                           Inc., 267 F.3d 493, 497–98 (6th Cir. 2001) (same); Gouveia v. Tazbir,
27                           37 F.3d 295, 300 (7th Cir. 1994) (holding that a restrictive, reciprocal
28                           land covenant, which included a money damages provision along side a

29                                                 4
30
 Case 2:20-bk-17433-VZ      Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38                   Desc
                             Main Document     Page 5 of 9



 1                             provision for a permanent injunction, was not a claim dischargeable in
 2                             bankruptcy under § 101(5)(B) for the same reasons set forth in Matter of
 3                             Udell).
 4                   ii.       As a matter of fact, the Hassen Court discussed approvingly In re Jolan,

 5                             Inc., 403 B.R. 866 (Bankr.W.D.Wash.2009) and In re Boston
 6                             Generating, LLC, 440 B.R. 302 (Bankr.S.D.N.Y.2010), specifically to
 7                             contrast its holding from the facts in those cases, where the interest at
 8                             issue—a junior lien, not an equitable servitude—was reducible to
 9                             “money satisfaction”:
10                                       In these hypothetical foreclosures, the junior lienholder
                                         would lose their lien on the foreclosed property, and
11                                       receive in exchange a lien attaching to the proceeds from
                                         the foreclosure sale. . . . .
12                                       …
                                         It is this lien on the monetary proceeds from the foreclosure
13                                       sale which the Jolan and Boston Generating courts found
                                         to be the “money satisfaction” received by junior
14                                       interests. Jolan identified foreclosure as a proceeding “by
                                         which lienholders may be compelled to accept money
15                                       satisfactions” because “foreclosures ... operate to clear
                                         junior lienholders’ interests, [with] their liens attach[ing] to
16                                       proceeds in excess of the costs of sale and the obligation or
                                         judgment foreclosed.” 403 B.R. at 870. Likewise, Boston
17                                       Generating found that “a junior lienholder ... is entitled to
                                         nothing more than the surplus cash generated in a sale” and
18                                       that the junior lienholders could thus be “compelled under
                                         state law to accept general unsecured claims to the extent
19                                       the sale proceeds are not sufficient to pay their claims in
                                         full.” 440 B.R. at 333 & n. 29. Jolan and Boston
20                                       Generating thus both turn on the fact that junior lienholders
                                         can be compelled to receive an entitlement to the proceeds
21                                       of a foreclosure sale in exchange for their junior liens. The
                                         City, by contrast, would receive no such satisfaction of the
22                                       Operating Covenant under a foreclosure of the CorePointe
                                         lien, because, as stated above, such a foreclosure would
23                                       simply terminate the Operating Covenant [i.e., the equitable
                                         servitude].
24                             Hassen at 862.
25                   iii.      The Packo Sale Opposition misleadingly dismisses Jolan, arguing that
26                             the Jolan Bankruptcy Court “missed the point as made by
27                             the Hassen court” because “[w]iped out by foreclosure is hardly the
28                             same as being forced to accept a ‘monetary satisfaction.’” Opposition
29                                                     5
30
 Case 2:20-bk-17433-VZ        Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38                Desc
                               Main Document     Page 6 of 9



 1                               at 7. In fact, it is the Packo Sale Opposition that misses the point
 2                               of Hassen: section 363(f)(5) does not apply to an interest, such as an
 3                               equitable servitude, that is not “cash convertible.” Here, the liens at
 4                               issue are clearly cash convertible in the context of a foreclosure auction,

 5                               as were the liens at issue in Jolan. For purposes of the Sale
 6                               Motion, Jolan is on point, not Hassen.
 7                      iv.      Furthermore, the Packo Sale Opposition confuses the issue by arguing
 8                               that Thor’s $31 million bid, if it ends up being the winning bid, would
 9                               leave nothing for his clients, with the possible exception of Packo. The
10                               correct analysis under 363(f)(5) is whether there is “a legal or equitable

11                               proceeding,” other than the 363 sale, under which the holders of these
12                               liens would be compelled to accept a money satisfaction of their
13                               respective interests. A judicial or nonjudicial foreclosure auction would
14                               constitute such a proceeding (note that Jolan and Boston
15                               Generating make clear either type of foreclosure qualifies); as the sale
16                               price under such a proceeding is unknowable until the proceeding takes

17                               place, it is irrelevant whether the claims of the holders of these liens
18                               would be satisfied in full or in part, or whether one or more of them
19                               might end up out of the money altogether.
20           b. Clear Channel is also distinguishable.
21                      i.       There, the Court found that section 363(f)(5) did not apply because the
22                               chapter 11 trustee did not identify a mechanism for extinguishing the

23                               interest at issue. As the Court noted:
24                                      The question is thus whether there is an available type or
                                        form of legal or equitable proceeding in which a court
25                                      could compel Clear Channel to release its lien for payment
                                        of an amount that was less than full value of Clear
26                                      Channel’s claim. Neither the Trustee nor DB has directed
                                        us to any such proceeding under nonbankruptcy law, and
27                                      the bankruptcy court made no such finding.”
                                 Clear Channel at 45-46 (emphasis added).
28

29                                                     6
30
 Case 2:20-bk-17433-VZ       Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38                Desc
                              Main Document     Page 7 of 9



 1                              The only proceeding put forward by the chapter 11 trustee was
 2                              “cramdown under § 1129(b)(2),” which the Court found unpersuasive
 3                              because “[i]f the proceeding authorizing satisfaction was found
 4                              elsewhere in the Bankruptcy Code, then an estate would not need §

 5                              363(f)(5) at all; it could simply use the other Code provision.” Clear
 6                              Channel at 46. The Clear Channel holding is very narrow:
 7                                     We thus hold that Congress did not intend under §
                                       363(f)(5) that nonconsensual confirmation be a type of
 8                                     legal or equitable proceeding to which that paragraph
                                       refers. As a result, the availability of cramdown under §
 9                                     1129(b)(2) is not a legal or equitable proceeding to
                                       which § 363(f)(5) is applicable.”
10                              Clear Channel at 46.
11                              As the Jolan court observed in its discussion of Clear Channel:
12                                     The careful reader will have noted that, after pointing out
                                       that appellees had not shown the existence of a qualifying
13                                     proceeding, the Panel did not continue with the familiar
                                       appellate rubric “nor have we found any such authority.”
14                                     Rather, it exercised its prerogative to limit its ruling to the
                                       arguments presented by the parties, as might be expected
15                                     when it was not evident that they had argued anything but §
                                       1129 to the bankruptcy court[.]
16
                                Jolan at 869.
17                     ii.      Here, Debtor has made no attempt to argue that the availability of
18                              cramdown under § 1129(b)(2) triggers application of section
19                              363(f)(5). Clear Channel is thus not on point. Rather, the applicable
20                              judicial proceeding forcing a monetary satisfaction is a judicial
21                              foreclosure. For reasons not entirely clear neither the appellee nor the
22                              court below seems to have pointed this out in Clear Channel. But
23                              California’s judicial foreclosure statute provides precisely that result.
24
          2.    Furthermore, the Packo Sale Opposition concedes (Opposition at 4, n. 2), that Clear
25
                Channel is not mandatory authority, but at most persuasive authority. Judge Zurzolo
26
                has recognized this rule. See, e.g., In re Locke, 180 B.R. 245, 254 (Bankr. C.D. Cal.
27
                1995) (“The decisions of the BAP are binding only on the judges whose orders have
28

29                                                     7
30
 Case 2:20-bk-17433-VZ        Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38                Desc
                               Main Document     Page 8 of 9



 1              been reversed or remanded by the BAP in that particular dispute. In all other instances,
 2              the decisions of the BAP are effective only to the extent they are persuasive.”).
 3        3.    Several opinions have declined to follow Clear Channel. Note that some of the
 4              decisions cited below decline to follow Clear Channel in regard to off-point issues,
 5              such as its holding that the § 363(m) stay does not apply to the “free and clear” aspect
 6              of a sale under § 363(f), or the correct interpretation of section 363(f)(3).
 7
                       i.        In re Bos. Generating, LLC, 440 B.R. 302, 333 (Bankr. S.D.N.Y. 2010):
 8
                                 As noted above, this Court declines to follow Clear Channel. Section
 9                               363(f)(5) does not require that the sale price for the property exceed the
                                 value of the interests. As recognized in a post-Clear Channel decision
10                               from a Bankruptcy Court in the Ninth Circuit, the existence of judicial
                                 and nonjudicial foreclosure and enforcement actions under state law can
11                               satisfy section 363(f)(5). See In re Jolan, Inc., 403 B.R. 866, 870
                                 (Bankr.W.D.Wash.2009). Numerous legal and equitable procedures
12                               exist by which the Second Lien Lenders could be forced to accept less
                                 than full payment of the Second Lien Debt. Thus, the Court finds that
13                               because the Second Lien Lenders could be compelled under state law to
                                 accept general unsecured claims to the extent the sale proceeds are not
14                               sufficient to pay their claims in full, section 363(f)(5) is satisfied.

15                     ii.       In re Nashville Senior Living, LLC, 407 B.R. 222, 231 (B.A.P. 6th Cir.
16                               2009), aff'd sub nom. In re Nashville Sr. Living, LLC, 620 F.3d 584 (6th
17                               Cir. 2010) (citing a long line of cases that declined to follow Clear
18                               Channel, and concluding “Accordingly, Clear Channel appears to be an
19                               aberration in well-settled bankruptcy jurisprudence applying § 363(m)
20                               to the ‘free and clear’ aspect of a sale under § 363(f).”)
21
                       iii.      In re WK Lang Holdings, LLC, No. 13-11934, 2013 WL 6579172, at *8
22
                                 (Bankr. D. Kan. Dec. 11, 2013) (in declining to follow Clear Channel,
23
                                 noting that no court of appeal has adopted its holding that under §
24
                                 363(f)(3) “the price of the property sold must be greater than the
25
                                 aggregate amount of all claims held by the lienholders” and that “the
26
                                 great weight of lower court authority is to the contrary” of the Clear
27
28

29                                                    8
30
 Case 2:20-bk-17433-VZ           Doc 396 Filed 11/29/21 Entered 11/29/21 11:58:38               Desc
                                  Main Document     Page 9 of 9



 1                                  Channel holding). In regard to section 363(f)(5), WK Lang agrees
 2                                  with Jolan and undermines Packo’s argument:
 3                                  The proposed sale meets the requirement of subsection (f)(5). This
                                    subsection allows the property to be sold free and clear of an entity's lien
 4                                  if “such entity could be compelled, in a legal or equitable proceeding, to
                                    accept a money satisfaction of such interest.” Midland's “interest” is an
 5                                  Article Nine security interest in personal property that, outside of
                                    bankruptcy, could be enforced by self-help or foreclosed in a court of
 6                                  appropriate jurisdiction. Midland could be compelled to accept less than
                                    payment in full of the debt in a state law foreclosure and, to the extent
 7                                  the proceeds of the foreclosure sale were insufficient to pay the claims in
                                    full, Midland would receive an unsecured deficiency or, if it wished,
 8                                  Midland could credit-bid up to the amount of its claim under at the
                                    foreclosure sale.
 9                                  WK Lang at *8.
10                         iv.      In re Gardens Reg'l Hosp. & Med. Ctr., Inc., No. 2:16-BK-17463-ER,
11                                  2018 WL 1229989, at *5 (C.D. Cal. Jan. 19, 2018) (noting in regard to
12                                  the section 363(m) issue that “BAP cases are not binding, and the Court
13                                  is unpersuaded by the rationale of Clear Channel[,]” and citing several
14                                  cases to the effect that the Clear Channel holding is an “aberration”).
15
16          For the reasons set forth above, the Debtor requests that the Court grant the Sales Procedures
17   Motion and any other relief as necessary.
18   Dated: November 29, 2021                      THE ORANTES LAW FIRM, P.C.
19                                                 /s/ Giovanni Orantes
20                                                 Giovanni Orantes, Esq.
                                                   Insolvency Counsel for Debtor and Debtor-in-Possession
21
22

23
24
25
26
27
28

29                                                       9
30
